               Case 24-50346-grs                  Doc 1     Filed 03/26/24 Entered 03/26/24 14:11:18                              Desc Main
                                                            Document      Page 1 of 16

Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF KENTUCKY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Fast Flow Plumbing, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1152 Red Lick Rd.
                                  Berea, KY 40403
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Madison                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  390 Blue Sky Pkwy Lexington, KY 40509
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://fastflowky.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 24-50346-grs                 Doc 1         Filed 03/26/24 Entered 03/26/24 14:11:18                                  Desc Main
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Debtor    Fast Flow Plumbing, LLC                                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2382

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                 Case 24-50346-grs                     Doc 1         Filed 03/26/24 Entered 03/26/24 14:11:18                                Desc Main
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Debtor    Fast Flow Plumbing, LLC                                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Fast Flow Plumbing, LLC                                                    Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                 Case 24-50346-grs              Doc 1       Filed 03/26/24 Entered 03/26/24 14:11:18                                Desc Main
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Debtor    Fast Flow Plumbing, LLC                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 26, 2024
                                                  MM / DD / YYYY


                             X /s/ Donald Fitzpatrick                                                     Donald Fitzpatrick
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO and Corproate Representative




18. Signature of attorney    X /s/ J. Christian Dennery                                                    Date March 26, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 J. Christian Dennery
                                 Printed name

                                 Dennery PLLC
                                 Firm name

                                 7310 Turfway Rd, Suite 550
                                 Florence, KY 41042
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     859-445-5495                  Email address      jcdenery@dennerypllc.com

                                 95878 KY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Fast Flow Plumbing, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF KENTUCKY

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       March 26, 2024                  X /s/ Donald Fitzpatrick
                                                           Signature of individual signing on behalf of debtor

                                                            Donald Fitzpatrick
                                                            Printed name

                                                            CEO and Corproate Representative
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                    Case 24-50346-grs         Doc 1         Filed 03/26/24 Entered 03/26/24 14:11:18                                         Desc Main
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Fill in this information to identify the case:
Debtor name Fast Flow Plumbing, LLC
United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                 Check if this is an
                                               KENTUCKY
Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Allegiant Partners                                                            Unliquidated                                                                      $29,748.43
Incorproated
123 SW Columbia St
Bend, OR 97702
Ally                                                                          Unliquidated                 $34,088.82                        $0.00              $34,088.82
500 Woodward Ave
Detroit, MI 48226
Ally                                                                          Unliquidated                                                                        $2,406.58
P.O Box 380902
Bloomington, MN
55438-0902
American Express                                                              Unliquidated                                                                      $98,000.00
PO Box 981540
El Paso, TX 79998
Chase United                                                                  Unliquidated                 $17,000.00                        $0.00              $17,000.00
PO Box 182051
Columbus, OH
43218-2051
Commonwealth of                                                               Unliquidated                                                                        $7,250.00
KY
C/o Jessica
Norris-Canfield
211 Sower Blvd.
P.O Box 615
Frankfort, KY
40602-0615
Community Trust                                                               Unliquidated                $166,818.16                        $0.00            $166,818.16
Bank
P.O Box 2947
Pikeville, KY 41502
First Citizen Bank &                                                          Unliquidated                                                                        $9,556.30
Trust Company
239 Fayetteville
Street Raleigh, NC
27601




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     Fast Flow Plumbing, LLC                                                                  Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Flash Funding LLC                                                             Unliquidated                                                                    $226,600.00
Atty. Erica R.                                                                Disputed
Gilerman, Esq.
10622 Hirsch Rd
Houston, TX 77016
GMC Financial                                                                 Unliquidated                 $87,627.70                        $0.00              $87,627.70
P.O. Box 99605
Arlington, TX 76096
Huntington National                                                           Unliquidated                 $27,976.00                        $0.00              $27,976.00
Bank
5555 Clevland
Avenue
17 S. High Street
Columbus, OH
43216
Masters' Supply Inc                                                           Unliquidated                 $55,300.95                        $0.00              $55,300.95
P.O Box 34337
Louisville, KY 40232
Mercedez-Benz                                                                 Unliquidated                 $93,381.00                        $0.00              $93,381.00
Financial Services
14372 Heritage
Parkway
Fort Worth, TX
76177
Rocket Capital NY                                                             Unliquidated                                                                    $246,743.32
LLC
Berkovitch &
Bouskila, Esq.
1545 U.S 202, Ste
101
Pomona, NY 10970
The Home Depot                                                                Unliquidated                                                                      $20,705.01
P.O Box 2317
Jacksonville, FL
32207
United - Mileage                                                              Unliquidated                                                                      $18,000.00
Plus
PO Box 15123
Wilmingtn, DE
19850-5123
US Small Business                                                             Unliquidated                $489,000.00                        $0.00            $489,000.00
Administration
C/O David W. Higgs,
Esq.
District Counsel KY
& TN
2 International
Plaza, Suite 500
Nashville, TN 37217




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Debtor     Fast Flow Plumbing, LLC                                                                  Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Velocity Capital                                                              Unliquidated                                                                    $278,031.68
Group Settlement                                                              Disputed
Attn: Gene Rosen's
Law Firm
200 Garden City
Plaza, Ste 405
Garden City, New
York 11530-0000
Western Equipment                                                             Unliquidated                                                                      $37,724.00
Finance
503 Hwy 2 W,
P.O Box 640
Devils Lake, ND
58301
WLEX Scripps                                                                  Unliquidated                                                                      $56,725.00
Media, Inc.
P.O Box 947746
Atlanta, GA
30394-7746




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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                                                      United States Bankruptcy Court
                                                             Eastern District of Kentucky
 In re    Fast Flow Plumbing, LLC                                                                                 Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Ashley Louise Fitzpatrick                                   Membership            50%                                        Membership Interest
1152 Red Lick Rd                                            Units
Berea, KY 40403

Donald Fitzpartick                                          Membership            50%                                        Membership Interests
1152 Red Lick Rd                                            Units
Berea, KY 40403


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO and Corproate Representative of the corporation named as the debtor in this case, declare under penalty
of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



Date March 26, 2024                                                      Signature /s/ Donald Fitzpatrick
                                                                                        Donald Fitzpatrick

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                         Allegiant Partners Incorproated
                         123 SW Columbia St
                         Bend OR 97702


                         Ally
                         500 Woodward Ave
                         Detroit MI 48226


                         Ally Bank
                         P.O Box 8133
                         Cockeysville MD 21033


                         American Express
                         PO Box 981540
                         El Paso TX 79998


                         Barr Credit
                         C/O Lorene Edwards
                         3444 N. Countyr Club Road, Suite 200
                         Tucson AZ 85716


                         Chase United
                         PO Box 182051
                         Columbus OH 43218-2051


                         Commonwealth of KY
                         C/o Jessica Norris-Canfield
                         211 Sower Blvd.
                         P.O Box 615
                         Frankfort KY 40602-0615


                         Community Trust Bank
                         P.O Box 2947
                         Pikeville KY 41502


                         First Citizen Bank
                         155 Commerce Way
                         Portsmouth NH 03801


                         First Citizen Bank
                         239 Fayetteville
                         St Raleigh NC 27601-1309
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                     First Citizen Bank
                     PO Box 856502
                     Minneapolis MN 55485


                     First Citizen Bank & Trust Company
                     239 Fayetteville
                     Street Raleigh NC 27601


                     Flash Funding LLC
                     Atty. Erica R. Gilerman, Esq.
                     10622 Hirsch Rd
                     Houston TX 77016


                     GMC Financial
                     P.O. Box 99605
                     Arlington TX 76096


                     Huntington National Bank
                     5555 Clevland Avenue
                     17 S. High Street
                     Columbus OH 43216


                     Internal Revenue Service
                     Philedelphia PA 40602



                     Joseph Baker
                     C/O Robert L. Roark, Esq
                     Roark & Korus, PLLC
                     401 Lewis Hargett Circle, Suite 210
                     Lexington KY 40503


                     Kubota Credit Corporation, U.S.A
                     1000 Kubota Dr.
                     Grapevine TX 76051


                     KY Department of Revenue
                     Legal Branch - Bankruptcy Section
                     PO Box 5222
                     Frankfort KY 40602


                     KY Public Service Commission
                     Division of Inspection/Damage Prevention
                     211 Sower Blvd.
                     Frankfort KY 40601
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                     M&T Bank
                     P.O Box 619063
                     Dallas TX 75261-9063


                     Masters' Supply Inc
                     P.O Box 34337
                     Louisville KY 40232


                     Mercedez-Benz Financial Services
                     14372 Heritage Parkway
                     Fort Worth TX 76177


                     Rocket Capital NY LLC
                     Berkovitch & Bouskila, Esq.
                     1545 U.S 202, Ste 101
                     Pomona NY 10970


                     The Home Depot
                     P.O Box 2317
                     Jacksonville FL 32207


                     Toyota Industries Commercial Finance
                     PO Box 660926
                     Dallas, Texas 75266-0926


                     United - Mileage Plus
                     PO Box 15123
                     Wilmingtn DE 19850-5123


                     US Small Business Administration
                     4300 Amon Carter Blvd
                     Fort Worth TX 76155


                     US Small Business Administration
                     C/O David W. Higgs, Esq.
                     District Counsel KY & TN
                     2 International Plaza, Suite 500
                     Nashville TN 37217


                     Velocity Capital Group Settlement
                     Attn: Gene Rosen's Law Firm
                     200 Garden City Plaza, Ste 405
                     Garden City, New York 11530-0000
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                     Western Equipment Finance
                     503 Hwy 2 W,
                     P.O Box 640
                     Devils Lake ND 58301


                     WLEX Scripps Media, Inc.
                     P.O Box 947746
                     Atlanta GA 30394-7746
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                                         United States Bankruptcy Court
                                              Eastern District of Kentucky
 In re   Fast Flow Plumbing, LLC                                                    Case No.
                                                            Debtor(s)               Chapter     11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Fast Flow Plumbing, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Ashley Louise Fitzpatrick
1152 Red Lick Rd
Berea, KY 40403
Donald Fitzpartick
1152 Red Lick Rd
Berea, KY 40403




  None [Check if applicable]




March 26, 2024                                 /s/ J. Christian Dennery
Date                                           J. Christian Dennery
                                               Signature of Attorney or Litigant
                                               Counsel for Fast Flow Plumbing, LLC
                                               Dennery PLLC
                                               7310 Turfway Rd, Suite 550
                                               Florence, KY 41042
                                               859-445-5495 Fax:859-286-6726
                                               jcdenery@dennerypllc.com
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     RESOLUTION AUTHORIZING THE COMMENCEMENT OF CHAPTER 11 CASE,
           APPOINTING DONDALD FITZPATRICK AS THE CORPORATE
     REPRESENTATIVE IN THE BANKRUPTCY PROCEEDINGS, AND APPROVING
               OF DENNERY, PLLC AS BANKRUPTCY COUNSEL

         WHEREAS, at a duly called special meeting of Fast Flow Plumbing, LLC, a limited
liability company duly organized under the laws of the state of Kentucky with a business address
of 1152 Red Lick Rd. Berea, KY 40403 (the “company” OR “Fast Flow.”), it was determined that
the company qualifies as a small business debtor under Chapter 11 of the United States Bankruptcy
Code, and that the best interest of the Company and its creditors would be served by filing a petition
under Chapter 11 of the United States Bankruptcy Code; now therefore:

        IT IS RESOLVED that the Company shall file a petition under Chapter 11 of the United
States Bankruptcy Code with a view of reorganizing its debts and financial affairs.

        IT IS RESOLVED that, effective March 26, 2024, (the “Effective Date”), Donald
Fitzpatrick is hereby designated as the corporate representative who shall have the authority to
execute any and all petitions, schedules, statements, plans, and other necessary documents in the
Chapter 11 case on behalf of the company.

        IT IS FURTHER RESOLVED that J. Christian A. Dennery and Dennery, PLLC shall be
retained to file a bankruptcy petition on behalf of the Company, and subject to further court approval,
represent the company in all matters related to the Chapter 11 case.

      The foregoing matters were transacted and unanimously approved by the two members of
Fast Flow Plumbing LLC. at a special meeting duly called and held on March 26,
2024.


 /s/ Donald Fitzpatrick                                         Ashley L. Fitzpatrick
 By: Donald Fitzpatrick                                         By: Ashley L. Fitzpatrick
 Its: Member                                                    Its: Member
 Date: Tuesday, March 26, 2024                                  Date: Tuesday, March 26, 2024


                                        CERTIFICATION

        I, Donald Fitzpatrick, chief executive officer and holder of 50% membership interest in
Fast Flow Plumbing LLC, a limited liability company validly existing under the laws of the State
of Kentucky with a business address of 1152 Red Lick Rd. Berea, KY 40403, certify and declare
under penalty of perjury that the above is a true and correct account of a resolution duly passed
and adopted by the company on the Effective Date set forth above.


       Certified under penalty of perjury on Tuesday, March 26, 2024 by:


                                       /s/ Donald Fitzpatrick
                                         Donald Fitzpatrick
                                      Chief Executive Officer
